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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 17-61789-Civ-SCOLA

  DANIEL MONCADA,

           Plaintiff,

  vs.

  BOB EVANS RESTAURANTS, LLC,

        Defendant.
  ____________________________________/


                    JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
           Plaintiff and Defendant, pursuant to the Federal Rules of Civil Procedure, hereby move to

  dismiss this action with prejudice, a resolution of all matters in dispute having been made and

  each party to bear its or their own fees and costs.


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